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                                            March 15, 2023

VIA ECF
The Honorable Leonard P. Stark
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, NW
Washington, D.C. 20439

       Re:     OI European Group B.V. v. Bolivarian Republic of Venezuela,
               No. 19-mc-0290;
               Northrop Grumman Ship Sys. Inc. v. Ministry of Def. of Republic of Venezuela,
               No. 20-mc-0257;
               ACL1 Investments, Ltd., et al. v. Bolivarian Republic of Venezuela,
               No. 21-mc-0046;
               Rusoro Mining Ltd. v. Bolivarian Republic of Venezuela,
               No. 21-mc-0481

Dear Judge Stark:

        Counsel for Petróleos de Venezuela, S.A. (PDVSA) writes to advise the Court of a new
authority pursuant to Local Rule 7.1.2(b).

        In a decision issued earlier this week, the U.S. Court of Appeals for the Eleventh Circuit
held that a U.S. court cannot recognize the illegitimate Maduro regime as acting or speaking for
PDVSA, without running afoul of the political question and act of state doctrines. PDVSA United
States Litig. Tr. v. Lukoil Pan Ams. LLC, No. 22-10675, 2023 U.S. App. LEXIS 5950 (11th Cir.
Mar. 13, 2023). There, an entity purporting to be “PDVSA,” but which was represented by a board
appointed by the Maduro regime, attempted to assert PDVSA’s interests in the United States, ar-
guing that the identity of the board of directors was irrelevant. Id. at *16. The Eleventh Circuit
rejected that argument, reasoning that a company can only act and speak through its duly appointed
board members, and that the actions of the Maduro regime and its purported board could not be
recognized by a U.S. court. Id. at *17.

        That ruling is consistent with the arguments made by PDVSA in the above-referenced pro-
ceedings that, under the political question and act of state doctrines, the acts of the Maduro regime
and its agents cannot be considered at all, let alone attributed to the Republic or PDVSA, in an
analysis about whether PDVSA (as governed by the ad hoc Board) is the alter ego of the Republic
for purposes of determining rights in property located in the United States.
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       Indeed, the Eleventh Circuit’s decision follows directly from the same line of cases cited
by PDVSA in these proceedings, including Oetjen v. Cent. Leather Co., 246 U.S. 297 (1918), and
Zivotofsky v. Kerry, 576 U.S. 1 (2015), as well as cases like United States v. Pink, 315 U.S. 203
(1942), and The Maret, 145 F.2d 431 (3d Cir. 1944).


                                            Respectfully submitted,

                                            /s/ Samuel T. Hirzel

                                            Samuel T. Hirzel (# 4415)

STH/cmw
cc:   All Counsel of Record (via ECF)
